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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TYLER DIVISION
FLEXUSPINE, INC. §
§
Plaintiff, § CIVIL ACTION NO,
§ 6:15-cv-00201-JRG-KNM
v. §
§ JURY TRIAL DEMANDED
GLOBUS MEDICAL, INC., §
§
Defendant. §
VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s Final Instructions to the Jury. Your answers to each question must be unanimous,

As used herein, “Flexuspine” means Flexuspine, Inc. and “Globus” means “Globus
Medical, Inc.

As used herein, the ’853 Patent means U.S. Patent No. 7,204,853 and the ’714 Patent
means U.S. Patent No. 7,316,714.

 

 
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QUESTION 1:

Did Flexuspine prove by a preponderance of the evidence that Globus infringes the
following claims of the following patents?

Answer “Yes” or “No” for each Claim.

°853 Patent

Claim 1: vA Up

°714 Patent

Claim 1: No
Me

Claim 2:
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ANSWER THIS NEXT QUESTION ONLY AS TO THOSE CLAIMS YOU ANSWERED
“YES” TO IN QUESTION 1 ABOVE—OTHERWISE DO NOT ANSWER THIS QUESTION.

QUESTION 2:

Did Globus prove by clear and convincing evidence that any of the asserted claims of
the following patents are invalid?

If you find the claims invalid, answer “Yes,” otherwise, answer “No.”

°853 Patent

Claim 1:

°714 Patent

Claim 1:

Claim 2:

 
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ANSWER QUESTION 3 ONLY IF YOU HAVE FOUND ONE OR MORE OF THE
ASSERTED CLAIMS OF THE ’853 or ’714 PATENTS TO BE INFRINGED AND NOT
INVALID.

QUESTION 3:

A, What sum of money do you find by a preponderance of the evidence, if now paid in
cash, would reasonably compensate Flexuspine for any infringement by Globus?

Answer in Dollars and Cents:

$

 

B. Was this monetary award a running royalty or a lump sum?

Check the answer that applies, but only check one answer.

Running Royalty:

Lump Sum:

 

 
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Signed this / G day of August, 2016:

~ JURY FOREPERSON

 
